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IN THE UNITED STATES DISTRICT COURT “a
FOR THE SOUTHERN DISTRICT OF TEXAS — gunn pas couts

HOUSTON DIVISION FILED
JUN 30 2025

STEPHEN GBEJULE ODAIBO § Nathan Ochsner, Clerk of Court.
Plaintiff, §
VS. § CIVIL ACTION No.: 4:25-CV-02743
NOVARTIS §
PHARMACEUTICALS
CORPORATION §
Defendant. §

CERTIFICATE OF SERVICE OF
ORDER FOR CONFERENCE, FORMS. AND RULES OF COURT

Plaintiff Stephen Gbejule Odaibo submits this certificate of service of the following documents

on Defendant Novartis:

1. Order Setting Conference.

2. Form for Joint Report on meeting required by Fed R. Civ. P. Rule 26(f) and Joint
Discovery/Case Management Plan.

3. Form for Proposed Docket Control & Scheduling Order form.
4. Required Contents of the Proposed Joint Pretrial Order.

5. Judge Andrew S. Hanen’s Rules of Court:

https://www.txs.uscourts.gov/content/united-states-district-judge-andrew-s-hanen-senior

Pursuant to paragraph 12 of the June 12, 2025 Order Setting Conference, all counsel of record
are being served the aforementioned documents via email on June 30th, 2025. The counsel of

record are listed below.
Case 4:25-cv-02743 Document 12

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PLAINTIFF STEPHEN GBEJULE
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NOVARTIS PHARMACEUTICALS
CORPORATION

Respectfully submitted,

By:_/s/ Stephen G. Odaibo

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PLAINTIFF, PRO SE

Certificate of Service

| hereby certify that on June 30th, 2025, this certificate of service was filed in person at the
District Clerk’s Office. | also hereby certify that on June 30th, 2025, all counsel of record are
being served the aforementioned documents by email.

/s/ Stephen G. Odaibo
Stephen Gbejule Odaibo
